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                        United States District Court
                        WESTERN DISTRICT OF TENNESSEE
                               Eastern Division


                           JUDGMENT IN A CIVIL CASE




MELVIN HARRIS, ELESE HARRIS
and BERNICE EDWARDS,
Plaintiff,

                                                       CASE NUMBER: 1:11-cv-1040-B


v.


ALLSTATE PROPERTY and
CASUALTY INSURANCE CO.,
Defendant,


Decision by Court. This action came before the Court and the issues have been
considered and a decision has been rendered.

       IT IS ORDERED AND ADJUDGED that in accordance with the Order entered in
the above-styled matter on 9/6/2010, this case is hereby Dismissed with prejudice,
 with each party to pay their own attorney’s fees and bear their own discretionary costs.

APPROVED:
                                                       s/J. Daniel Breen
                                                       United States District Judge
THOMAS M. GOULD
CLERK

BY: s/Anna Jordan
DEPUTY CLERK
